      Case 3:17-cv-00939-WHA Document 362 Filed 05/05/17 Page 1 of 3



 1   MICHAEL A. JACOBS (CA SBN 111664)
     MJacobs@mofo.com
 2   ARTURO J. GONZÁLEZ (CA SBN 121490)
     AGonzalez@mofo.com
 3   ERIC A. TATE (CA SBN 178719)
     ETate@mofo.com
 4   RUDY Y. KIM (CA SBN 199426)
     RKim@mofo.com
 5   MORRISON & FOERSTER LLP
     425 Market Street
 6   San Francisco, California 94105-2482
     Telephone:    415.268.7000
 7   Facsimile:    415.268.7522

 8   KAREN L. DUNN (Pro Hac Vice)
     kdunn@bsfllp.com
 9   HAMISH P.M. HUME (Pro Hac Vice)
     hhume@bsfllp.com
10   BOIES SCHILLER FLEXNER LLP
     1401 New York Avenue, N.W.
11   Washington DC 20005
     Telephone:   202.237.2727
12   Facsimile:   202.237.6131

13   Attorneys for Defendants
     UBER TECHNOLOGIES, INC.
14   and OTTOMOTTO LLC

15                               UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
17                                     SAN FRANCISCO DIVISION
18   WAYMO LLC,                                           Case No.     3:17-cv-00939-WHA
19                        Plaintiff,                      DEFENDANTS UBER
                                                          TECHNOLOGIES, INC. AND
20          v.                                            OTTOMOTTO LLC’S
                                                          ADMINISTRATIVE MOTION TO
21   UBER TECHNOLOGIES, INC.,                             FILE UNDER SEAL PORTIONS OF
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    THEIR RESPONSE TO WAYMO’S
22                                                        OBJECTIONS TO EVIDENCE
                          Defendants.                     CITED IN DEFENDANTS’ SUR-
23                                                        REPLY
24                                                        Trial Date: October 2, 2017
25

26

27
28

     DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
     Case No. 3:17-cv-00939-WHA
      Case 3:17-cv-00939-WHA Document 362 Filed 05/05/17 Page 2 of 3



 1          In accordance with Civil Local Rules 7-11 and 79-5, and General Order No. 62,

 2   Defendants Uber Technologies, Inc. and Ottomotto LLC (“Defendants”) submit this motion for

 3   an order to file under seal the confidential, unredacted versions of the following documents:

 4          1.      Portions of Defendants’ Response to Waymo’s Objections to Evidence Cited in

 5   Defendants’ Preliminary Injunction Sur-Reply (“Defendants’ Response”).

 6          2.      Portions of Exhibit A to the Declaration of Esther Chang in Support of Defendants’

 7   Response (“Chang Declaration”).

 8          3.      Portions of Defendants’ Response contain Defendants’ proprietary technical and

 9   business information. The design of Uber’s custom LiDAR system and certain business details

10   are proprietary and highly confidential, maintained as confidential by Uber, and, if made public,

11   would cause Uber irreparable harm in this very competitive space of autonomous driving. These

12   portions are highlighted in blue. (Yang Decl. ¶ 2.)

13          4.      Portions of Defendants’ Response and Exhibit A to the Chang Declaration contain

14   information that Plaintiff Waymo LLC has designated “Confidential” or “Highly Confidential –

15   Attorneys’ Eyes Only” in accordance with the Patent Local Rule 2-2 Interim Model Protective

16   Order (“Protective Order”), which the parties have agreed govern this case (Transcript of

17   3/16/2017 Hearing, page 6). Although Defendants disagree that this information is confidential,

18   Defendants file this instant motion to comply with Paragraph 14.4 of the Protective Order. These

19   portions are highlighted in green. (Yang Decl. ¶ 3.)

20          Pursuant to Civil Local Rule 79-5(d)(2), Defendants will lodge with the Clerk the

21   documents at issue, with accompanying chamber copies.

22          Defendants served Waymo with this Administrative Motion to File Documents Under

23   Seal on May 5, 2017.

24          For the foregoing reasons, Defendants request that the Court enter the accompanying

25   Proposed Order granting Defendants’ Administrative Motion to File Documents Under Seal and

26   designate the service copies of these documents as “HIGHLY CONFIDENTIAL –

27   ATTORNEYS’ EYES ONLY.”

28

     DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
     Case No. 3:17-cv-00939-WHA
                                                                                                         1
      Case 3:17-cv-00939-WHA Document 362 Filed 05/05/17 Page 3 of 3



 1   Dated: May 5, 2017                          MORRISON & FOERSTER LLP

 2
                                                 By: /s/Michael A. Jacobs
 3                                                     MICHAEL A. JACOBS
 4                                               Attorneys for Defendants
                                                 UBER TECHNOLOGIES, INC.
 5                                               and OTTOMOTTO LLC
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26

27
28

     DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
     Case No. 3:17-cv-00939-WHA
                                                                            2
